Case 2:22-cv-04355-JFW-JEM Document 98-1 Filed 02/14/23 Page 1 of 18 Page ID
                                 #:3523

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 15
 16                         UNITED STATES DISTRICT COURT
 17                       CENTRAL DISTRICT OF CALIFORNIA
 18                                WESTERN DIVISION
 19 Yuga Labs, Inc.,                            Case No.: 2:22-cv-4355-JFW-JEM
 20                  Plaintiff and Counterclaim DISCOVERY MATTER
                     Defendant,
 21                                             LOCAL RULE 37 JOINT
            v.                                  STIPULATION RE DEFENDANTS
 22                                             RYDER RIPPS AND JEREMY
      Ryder Ripps, Jeremy Cahen,                CAHEN’S MOTION TO DE-
 23                                             DESIGNATE THE DEPOSITION
                     Defendants and             OF RYAN HICKMAN
 24                  Counterclaim Plaintiffs.
                                                Magistrate Judge: Hon. John E. McDermott
 25                                             Motion Hearing Date: March 21, 2023
                                                Motion Hearing Time: 10:00 AM
 26                                             Discovery Cutoff Date: April 3, 2023
                                                Pre-Trial Conference Date: June 9, 2023
 27                                             Trial Date: June 27, 2023
 28


      STIPULATION REGARDING MOTION TO
      DE-DESIGNATE                          i                     CASE NO. 2:22-CV-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 98-1 Filed 02/14/23 Page 2 of 18 Page ID
                                 #:3524

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      STIPULATION REGARDING MOTION TO
      DE-DESIGNATE                          ii                    CASE NO. 2:22-CV-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 98-1 Filed 02/14/23 Page 3 of 18 Page ID
                                 #:3525

  1                                         TABLE OF CONTENTS
  2
                                                                                                                        Page
  3
      I.     INTRODUCTORY STATEMENTS ............................................................... 1
  4
             A.      Mr. Ripps and Mr. Cahen’s Introductory Statement ............................. 1
  5
      II.    YUGA LABS’ INTRODUCTORY STATEMENT ......................................... 3
  6
      III.   ISSUES IN DISPUTE ..................................................................................... 5
  7
             A.      Confidentiality Designation of Ryan Hickman’s Deposition
  8                  Testimony .............................................................................................. 5
  9                  1.       Mr. Ripps and Mr. Cahen’s Position ........................................... 5
 10                  2.       Yuga Labs’ Position .................................................................... 6
 11          B.      Award of Expenses under the Court’s Protective Order ..................... 10
 12                  1.       Mr. Ripps and Mr. Cahen’s Position ......................................... 10
 13                  2.       Yuga Labs’ Position .................................................................. 11
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
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      STIPULATION REGARDING MOTION TO
      DE-DESIGNATE                                               iii                         CASE NO. 2:22-CV-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 98-1 Filed 02/14/23 Page 4 of 18 Page ID
                                 #:3526


  1         This Joint Stipulation is submitted by Defendants and Counterclaim Plaintiffs
  2 Ryder Ripps (“Mr. Ripps”) and Jeremy Cahen (“Mr. Cahen”) and Plaintiff and
  3 Counterclaim Defendant Yuga Labs, Inc. (“Yuga” or “Yuga Labs”) pursuant to
  4 Local Rule 37-2 in connection with Mr. Ripps and Mr. Cahen’s motion to de-
  5 designate Ryan Hickman’s deposition testimony. The parties conferred regarding
  6 the designation of Mr. Hickman’s testimony on February 6, 2023, and Defendants
  7 served their portion of this stipulation later that same day. The Court’s order
  8 establishing the case schedule is attached as Exhibit 1 to the Declaration of Derek
  9 Gosma.
 10 I.      INTRODUCTORY STATEMENTS
 11         A.    Mr. Ripps and Mr. Cahen’s Introductory Statement
 12         This motion is unfortunately necessary to free a third party’s testimony—
 13 which that third party very much believes should be public—from Yuga’s baseless
 14 and pretextual claim that it should receive “Attorneys Eyes Only” protection under
 15 the protective order.
 16         This lawsuit involves Mr. Ripps and Mr. Cahen’s satirical RR/BAYC NFT
 17 project, which criticizes Yuga for, among other things, its use of racist imagery in
 18 connection with its “Bored Ape Yacht Club” collection of non-fungible tokens.
 19         On December 7, 2022, Yuga took the deposition of pro se third party Ryan
 20 Hickman, who helped in the creation of the RR/BAYC satirical artwork that is the
 21 subject of this litigation. Mr. Hickman is a Black Jewish man. Mr. Hickman
 22 participated in the RR/BAYC project in part because he believes that the imagery in
 23 Yuga’s “Bored Ape Yacht Club” collection is racist, anti-Semitic, and offensive.
 24         Mr. Hickman’s deposition did not involve any Yuga confidential materials.
 25 Nevertheless, on January 20, 2022, Yuga designated the entirety of his 308-page
 26 deposition transcript as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 27 ONLY” under the Court’s protective order. Gosma Decl., Ex. 3 (Corr. with Yuga) at
 28 11. Yuga initially did not provide any basis for its confidentiality designation and

      STIPULATION REGARDING MOTION TO
      DE-DESIGNATE                               1               CASE NO. 2:22-CV-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 98-1 Filed 02/14/23 Page 5 of 18 Page ID
                                 #:3527


  1 instead vaguely stated that “multiple parties” have designated information from the
  2 deposition as confidential. Id. at 8. Yuga has since clarified that the supposed
  3 “parties” who may have a confidentiality interest in Mr. Hickman’s designation are
  4 Mr. Hickman himself, the Defendants, and third-party Thomas Lehman (who had
  5 produced some of the documents about which Mr. Hickman was questioned). Yuga
  6 has never claimed that there was any Yuga confidential information discussed
  7 during Mr. Hickman’s deposition (nor could there have been, since Mr. Hickman
  8 has never been affiliated in any way with Yuga).
  9         No party with any potential claim of confidentiality in Mr. Hickman’s
 10 testimony claims that his testimony includes any confidential information.
 11 Specifically, on December 22, 2022, Mr. Hickman had already communicated to all
 12 the parties in this litigation that, “I would not like to have my deposition
 13 confidential.” Gosma Decl. Ex. 4 (Hickman Corr.) at 1 (emphasis added).
 14 Likewise, on January 30, 2022, counsel for Mr. Lehman also communicated that he
 15 “does not oppose treating all of Mr. Hickman’s deposition testimony as non-
 16 confidential.” Gosma Decl., Ex. 3 (Corr. with Yuga) at 7. And Defendants have
 17 also repeatedly confirmed that “they are fine treating all of Mr. Hickman’s
 18 testimony as non-confidential.” Id. at 6. But even after all relevant parties agreed
 19 that Mr. Hickman’s testimony is non-confidential, Yuga has refused to withdraw its
 20 “Attorneys Eyes Only” confidentiality designation for the entirety of Mr.
 21 Hickman’s deposition testimony.
 22         Yuga should not be permitted to prevent Defendants’ personal access (as
 23 opposed to merely outside counsel’s access) to Mr. Hickman’s highly relevant
 24 testimony by designating it “Attorneys Eyes Only.” Nor should Yuga be allowed to
 25 preclude Mr. Hickman from speaking freely publicly regarding his own non-
 26 confidential testimony. This is precisely the kind of abuse of confidentiality
 27 designations that the Protective Order precludes.
 28

      STIPULATION REGARDING MOTION TO
      DE-DESIGNATE                               2               CASE NO. 2:22-CV-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 98-1 Filed 02/14/23 Page 6 of 18 Page ID
                                 #:3528


  1 II.     YUGA LABS’ INTRODUCTORY STATEMENT
  2         Defendants have mass-designated the majority of documents in their
  3 discovery production with the maximum level of confidentiality allowed under the
  4 Protective Order (“Highly Confidential – Attorneys’ Eyes Only” OR “HC-AEO”).
  5 Gosma Decl. Ex. 2 (Protective Order) § 3.8. Yet, despite their broad application of
  6 HC-AEO designations, Defendants seek to de-designate the entire deposition of
  7 Ryan Hickman, which is replete with direct quotes from, and detailed discussions
  8 of, Defendants’ HC-AEO documents. This request is inconsistent with the
  9 Protective Order’s Requirement that HC-AEO material must be “clearly so
 10 designated.” Id. § 6.2. If Defendants have their way, their produced documents
 11 would still be marked HC-AEO while deposition testimony quoting those
 12 documents would be entirely public. This absurd outcome would place Yuga Labs
 13 in an untenable position, forcing it to guess which documents and topics are
 14 actually designated confidential. Yuga Labs opposes Defendants’ motion because
 15 their motion seeks relief inconsistent with the Protective Order and Defendants’
 16 prior designations.
 17         Contrary to being “baseless and pretextual,” (supra at 1) Yuga Labs
 18 designated the Hickman transcript HC-AEO for consistency with Defendants’
 19 designation of material used in Mr. Hickman’s deposition. Gosma Decl. Ex. 3
 20 (Email Correspondence) at 10-11. When Defendants disputed this designation,
 21 Yuga Labs requested that Defendants re-designate the documents underlying Mr.
 22 Hickman’s deposition so that it could reassess the confidentiality of the deposition.1
 23 Id. at 5. Instead, Defendants offered to de-designate a vague set of documents
 24 “quoted or paraphrased” in Mr. Hickman’s deposition. Id. at 4. However, Yuga
 25 Labs explained that a vague blanket designation like that is improper, and in order
 26
      Indeed, this was not the first time Yuga Labs’ counsel made this request. As far
      1
 27 back as December 2022, Yuga Labs asked Defendants to de-designate certain
    documents marked HC-AEO for consistency with their representation that Mr.
 28 Hickman’s deposition was not confidential, but received no response. Declaration
    of Anthony Fares (“Fares Decl.”) Ex. 1 at 1-2.
      STIPULATION REGARDING MOTION TO
      DE-DESIGNATE                              3               CASE NO. 2:22-CV-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 98-1 Filed 02/14/23 Page 7 of 18 Page ID
                                 #:3529


  1 to designate “a portion or portions” of a document confidential or HC-AEO, they
  2 must re-produce it and “clearly identify the protected portion(s) (e.g., by making
  3 appropriate markings in the margins).” Id. Ex. 2 § 6.3(a); Ex. 3 at 3. Next, on the
  4 February 6 meet and confer call, Defendants agreed to re-produce the documents
  5 they claim are no longer HC-AEO as non-confidential, only to retract their
  6 agreement without explanation and state their intention to serve this motion on
  7 Yuga Labs, which they did about five hours later. Fares Decl. ¶ 3. To date,
  8 Defendants have failed to comply with the Protective Order, they have failed to
  9 honor their proposals, and they have failed to identify what documents they
 10 consider quoted or paraphrased in Mr. Hickman’s deposition. Defendants’ shifting
 11 sands of inconsistency continue to leave Yuga Labs to guess at their confidentiality
 12 positions.
 13         In rushing to file this motion, Defendants further failed to provide a letter
 14 setting forth the specific issues in dispute and failed to confer in good faith, as
 15 required by L.R. 37-1. Fares Decl. ¶¶ 3, 4. These procedural violations alone
 16 warrant denial of the motion.
 17         Defendants are aware of Yuga Labs’ legitimate basis for designating the
 18 Hickman Deposition HC-AEO and the proper procedural steps required to avoid
 19 bringing these issues before the Court. The only explanation for Defendants’
 20 frivolous motion, that they brought without following the Protective Order and the
 21 Local Rules, is to harass Yuga Labs. This Court should award Yuga Labs sanctions
 22 and attorneys’ fees under the Protective Order. Gosma Decl. Ex. 2 § 7.3. Likewise,
 23 the Court should reject Defendants’ request for sanctions against Yuga Labs, who
 24 has complied with all of its obligations under the Protective Order, and is simply
 25 asking Defendants to comply with the Protective Order and Local Rules. Instead,
 26 the Court should sanction Defendants for their “clearly unjustified” designation of
 27 protected materials. Id. § 6.1.
 28

      STIPULATION REGARDING MOTION TO
      DE-DESIGNATE                                4               CASE NO. 2:22-CV-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 98-1 Filed 02/14/23 Page 8 of 18 Page ID
                                 #:3530


  1 III.    ISSUES IN DISPUTE
  2         A.    Confidentiality Designation of Ryan Hickman’s Deposition
  3               Testimony
  4               1.     Mr. Ripps and Mr. Cahen’s Position
  5         There is “a strong presumption in favor of [public] access” to records of
  6 judicial proceedings. Kamakana v. City & Cnty. Of Honolulu, 447 F. 3d 1172, 1178
  7 (9th Cir. 2006). A party may designate records as non-public under a protective
  8 order only if there is “good cause” to withhold the document from the public. Ctr.
  9 For Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1097 (9th Cir. 2016). Yuga
 10 has not shown good cause for designating the entirety of Mr. Hickman’s 308-page
 11 deposition testimony as “HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES
 12 ONLY.”
 13         Yuga has made confidentiality designations on behalf of Mr. Lehman and the
 14 Defendants. But Mr. Lehman and the Defendants have not, at any point, asserted
 15 confidentiality over any portion of Mr. Hickman’s deposition testimony. Third-
 16 party Mr. Lehman and the Defendants have all unequivocally stated that they do not
 17 oppose Mr. Hickman’s request that his testimony be made public. Gosma Decl.,
 18 Ex. 3 (Corr. with Yuga) at 6-7. Given that all parties with any arguably
 19 confidentiality interest in any part of Mr. Hickman’s testimony agree that it should
 20 be non-confidential, Yuga refusal to withdraw its confidentiality designation is
 21 improper. See L.A. Triumph, Inc. v. Ciccone, C 10-06195-SJO-JCx, 2011 WL
 22 13217377, at *2 (C.D. Cal. June 16, 2011) (declining to seal deposition testimony
 23 when the deponent did not oppose public disclosure).
 24         Yuga incorrectly asserts that Mr. Hickman’s testimony should be confidential
 25 because some confidential documents were used during his deposition. The parties
 26 are not requesting that the confidentiality designation for any document be
 27 changed. But all parties with any potential confidentiality interest in those
 28 documents (Hickman, Lehman, and the Defendants) have reviewed the actual

      STIPULATION REGARDING MOTION TO
      DE-DESIGNATE                               5              CASE NO. 2:22-CV-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 98-1 Filed 02/14/23 Page 9 of 18 Page ID
                                 #:3531


  1 testimony and determined that even the parts of the testimony that includes
  2 discussion of confidential documents need not itself be kept confidential. The fact
  3 that testimony involves confidential materials does not make the testimony itself
  4 confidential. See Beaulieu Group, LLC v. Bates, 15-cv-01090-JGB-KKx, 2016 WL
  5 7626471, at *4 (C.D. Cal. Oct. 18, 2016) (declining to seal deposition testimony
  6 even when testimony related non-public documents such as confidentiality
  7 agreements).
  8         In light of the foregoing, Defendants request that this Court designate Mr.
  9 Hickman’s deposition testimony as non-confidential, because (1) all relevant
 10 parties’ agreement that the testimony should be non-confidential and (2) there is a
 11 strong policy in favor of public access to juridical records. Kamakana, 447 F.3d at
 12 1178 (recognizing the “general history of access and the public policies favoring
 13 disclosures, such as the public interest in understanding the judicial process.”).
 14                2.     Yuga Labs’ Position
 15         Pursuant to Federal Rule of Civil Procedure 26(c), “[t]he court may, for good
 16 cause, issue an order . . . requiring that a trade secret or other confidential research,
 17 development, or commercial information not be revealed or be revealed only in a
 18 specified way.” Fed. R. Civ. P. 26(c)(1)(G). “Generally speaking, the public has no
 19 constitutional, statutory (rule-based), or common-law right of access
 20 to unfiled discovery.” Bond v. Utreras, 585 F.23d 1061, 1073, 1075, n.8 (7th Cir.
 21 2009) (emphasis in original); see also In re TFT-LCD (Flat Panel) Antitrust Litig.,
 22 No. M 07-1827, 2011 WL 11736636, at *2 (N.D. Cal. May 5, 2011) (finding no
 23 “strong public right of access to ‘raw discovery’ documents produced in civil
 24 discovery that have not been filed in court or used in depositions.”).
 25         Defendants designated the vast majority of their document production as HC-
 26 AEO. Many of this material designated HC-AEO is directly quoted, used as
 27 exhibits, and otherwise featured prominently in Mr. Hickman’s deposition. Fares
 28 Decl. ¶ 5; see, e.g., Fares Decl. Exs. 2, 4. Yet Defendants’ motion to de-designate

      STIPULATION REGARDING MOTION TO
      DE-DESIGNATE                                 6               CASE NO. 2:22-CV-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 98-1 Filed 02/14/23 Page 10 of 18 Page ID
                                 #:3532


  1 this deposition would result in inconsistencies between their broad designation of
  2 HC-AEO documents and their broad de-designation of quotes and other
  3 information from Mr. Hickman’s deposition. This would obscure what documents
  4 and topics are actually confidential, in violation of the Protective Order’s
  5 requirement that confidential documents be “clearly so designated.” Gosma Decl.
  6 Ex. 2 § 6.2.
  7         To illustrate this point, Exhibit 53 to Mr. Hickman’s deposition is an excerpt
  8 of a document produced by Defendants as HC-AEO. Fares Decl. Ex. 2. This
  9 exhibit is part of what Defendants have touted is a “production of 10,945
 10 confidential communications with links to corresponding documents detailing the
 11 creation, design, development, marketing, sales, returns, revenue, and costs
 12 associated with RR/BAYC” known as Team Ape Market Discord. Id. Ex. 3 at 4. In
 13 Exhibit 53, below Defendants’ knowing reference to Yuga Labs’ trademark
 14 registration, Mr. Cahen states: “@ryder per our attorney we may just need to
 15 change the skull If we want to fight trademark.” Id. Ex. 2. This quote is almost
 16 exactly transcribed in the transcript of Mr. Hickman’s deposition, which Defendants
 17 seek to de-designate. Id. Ex. 4 at 234:9-14. Yet even if the deposition were de-
 18 designated, this quote would still be labeled HC-AEO as part of the “10,945
 19 confidential communications” in Team Ape Market Discord. Id. Ex. 3 at 4. Yuga
 20 Labs would be unable to determine which confidentiality designation applied,
 21 forcing it to guess about confidentiality for future filings.
 22         Defendants’ proposal to de-designate all documents “quoted or paraphrased”
 23 in Mr. Hickman’s deposition, without re-producing these documents, is a non-
 24 starter. Gosma Decl. Ex. 3 at 4. First, this does not comply with the Protective
 25 Order, which requires that parties who wish to designate “a portion or portions” of a
 26 document must re-produce the document and “clearly identify the protected
 27 portion(s) (e.g., by making appropriate markings in the margins).” Id. Ex. 2 §
 28 6.3(a). Second, this clumsy application of de-designation results in more questions

      STIPULATION REGARDING MOTION TO
      DE-DESIGNATE                                7                 CASE NO. 2:22-CV-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 98-1 Filed 02/14/23 Page 11 of 18 Page ID
                                 #:3533


  1 than answers. For example, it is unclear whether this de-designation would apply
  2 to statements by the attorney taking the deposition or to the exhibits used in the
  3 deposition. Nor is it clear what constitutes “paraphrase[d]” material. And third,
  4 Defendants do not explain why this specific material is confidential and other
  5 material is not. For example, the quote in Exhibit 53 revealing formerly-privileged
  6 information about Defendants’ knowledge of infringement, and other sensitive
  7 quotes, would be public, but under Defendants’ proposal, a popular gif of Shaquille
  8 O’Neal that was not described in the deposition would remain HC-AEO. Fares
  9 Decl. Ex. 5. Defendants’ motion should be denied to avoid absurd and confusing
 10 outcomes like the example above. 2 Or, if the Court grants their motion, Defendants
 11 should be ordered to re-produce and re-designate their HC-AEO productions to
 12 “clearly identify the protected portion(s).” Gosma Decl. Ex. 2 § 6.3.
 13         Defendants’ failure to comply with L.R. 37-1’s letter requirement also
 14 warrants denial of their motion. Reinsdorf v. Skechers U.S.A., Inc., No. CV 10-
 15 07181, 2012 WL 12878325, at *3 (C.D. Cal. Jan. 30, 2012) (denying discovery
 16 motion due, in part, to failure to provide 37-1 letter). This Rule requires that
 17 “[b]efore filing any motion relating to discovery . . . counsel for the opposing party
 18 must confer with counsel for the moving party within ten days after the moving
 19 party serves a letter requesting such conference.” L.R. 37-1. The letter “must
 20 identify each issue and/or discovery request in dispute, state briefly as to each such
 21 issue/request the moving party’s position (and provide any legal authority the
 22 moving party believes is dispositive of the dispute as to that issue/request), and
 23 specify the terms of the discovery order to be sought.” Id. Defendants provided no
 24 such letter, despite being on notice of this deficiency. Fares Decl. ¶ 4. When
 25
 26   If granted, Defendants’ motion could possibly result in other absurd
      2
    consequences. For example, publicly quoting a document designated HC-AEO
 27 could result in “monetary sanctions of at least $10,000 for each violation against
    both the Parties and Counsel” (Gosma Decl. Ex. 2 § 16), but simply changing the
 28 cite to the section of Mr. Hickman’s deposition that quotes the language would not
    warrant sanctions.
      STIPULATION REGARDING MOTION TO
      DE-DESIGNATE                               8               CASE NO. 2:22-CV-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 98-1 Filed 02/14/23 Page 12 of 18 Page ID
                                 #:3534


  1 Defendants first raised the possibility of filing a de-designation motion, Yuga Labs
  2 responded that such a motion would be premature due to their failure to provide a
  3 37-1 letter. Gosma Decl. Ex. 3 at 5. Defendants ignored this requirement. Nor at
  4 any point did they provide any legal authority in support of their position that Mr.
  5 Hickman’s deposition should be de-designated or specify the terms of a discovery
  6 order to be sought. These are fatal flaws for their motion. See, e.g., Gordium
  7 Innovations, LLC v. Zyxel Comm. Inc., No. SACV 12-2014, 2013 WL 12153506, at
  8 *2 (C.D. Cal. Dec. 9, 2013) (denying discovery motion due in part to the fact that
  9 L.R. 37-1 letter did not cite any legal authority); Arroyo v. Cervantes, No. 8:19-
 10 00182, 2019 WL 8755115, at *1 (C.D. Cal. Aug. 16, 2019) (denying discovery
 11 motion due in part to party’s failure to specify terms of discovery order sought in
 12 L.R. 37-1 letter).
 13         Defendants also failed to comply with Rule 37-1’s requirement that they
 14 “confer in a good-faith effort to eliminate the necessity for hearing the motion or to
 15 eliminate as many of the disputes as possible.” L.R. 37-1; Lehman Com. Paper Inc.
 16 v. Fid. Nat’l Title Ins. Co., No. SACV 12-00570, 2013 WL 12114063, at *1 (C.D.
 17 Cal. July 25, 2013) (denying discovery motion due in part to failure to meet and
 18 confer in good faith). Defendants approached the meet and confer without an intent
 19 to negotiate in good faith, instead offering false promises to comply with the
 20 Protective Order, which they then reneged on moments later. Fares Decl. ¶ 3.
 21 Approximately five hours after the meet and confer, they served Yuga Labs with
 22 their motion to de-designate. Id. Their motion should be denied on these grounds.
 23         Defendants’ citations to L.A. Triumph, Inc. v. Ciccone, 2011 WL 13217377,
 24 at *2 (C.D. Cal. June 16, 2011) and Beaulieu Group, LLC v. Bates, 2016 WL
 25 7626471, at *4 (C.D. Cal. Oct. 18, 2016) are inapposite. These were both rulings
 26 on motions to seal, not to de-designate a confidential document under a protective
 27 order. Id.; see In re TFT-LCD (Flat Panel) Antitrust Litig., 2011 WL 11736636, at
 28 *3 (“The public right to access as to court-filed documents is much stronger than as

      STIPULATION REGARDING MOTION TO
      DE-DESIGNATE                               9               CASE NO. 2:22-CV-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 98-1 Filed 02/14/23 Page 13 of 18 Page ID
                                 #:3535


  1 to unfiled raw discovery that is at issue here.”). And most importantly, Yuga Labs
  2 does not contend that there are “compelling reasons” for designating Mr. Hickman’s
  3 deposition HC-AEO, which was an important factor in these cases. Id. Yuga Labs
  4 merely seeks a consistent approach to Defendants’ confidentiality designations.
  5         B.    Award of Expenses under the Court’s Protective Order
  6 6.1. Exercise of Restraint and Care in Designating Material for Protection.
  7               Each Party or Nonparty that designates information or items for
  8         protection under this Stipulated Protective Order must take care to limit
  9         any such designation to specific material that qualifies under the
 10         appropriate standards. The Designating Party must designate for
 11         protection only those parts of material, documents, items, or oral or
 12         written communications that qualify so that other portions of the
 13         material, documents, items, or communications for which protection is
 14         not warranted are not swept unjustifiably within the ambit of this
 15         Stipulated Protective Order.
 16               Mass, indiscriminate, or routinized designations are prohibited.
 17         Designations that are shown to be clearly unjustified or that have been
 18         made for an improper purpose (e.g., to unnecessarily encumber the case
 19         development process or to impose unnecessary expenses and burdens
 20         on other parties) may expose the Designating Party to sanctions.
 21               1.     Mr. Ripps and Mr. Cahen’s Position
 22         All parties with any even arguable confidentiality interest in Mr. Hickman’s
 23 testimony, including Mr. Hickman himself, agree that Mr. Hickman’s testimony
 24 should be non-confidential. Yuga’s baseless refusal to withdraw its confidentiality
 25 designation under these circumstances is nothing more than gamesman-like use of
 26 the confidentiality designations process to silence Mr. Hickman, a pro se third
 27 party, and to place impediments in the way of Defendants’ personal access to
 28 relevant testimony. Violations of this nature warrant the award of expenses for

      STIPULATION REGARDING MOTION TO
      DE-DESIGNATE                              10               CASE NO. 2:22-CV-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 98-1 Filed 02/14/23 Page 14 of 18 Page ID
                                 #:3536


  1 several reasons.
  2         First, the Court’s Protective Order provides that any violation of the order
  3 should be punished by “monetary sanctions of at least $10,000 for each violation
  4 against both the Parties and Counsel.” Gosma Decl. Ex. 2 (Protective Order) ¶ 16.
  5 The order prohibits designations “shown to be clearly unjustified.” Gosma Decl.
  6 Ex. 2 (Protective Order) ¶ 6.1. Yuga designated the entirety of Mr. Hickman’s 308-
  7 page testimony as highly confidential on behalf of Mr. Lehman and the Defendants
  8 when Mr. Lehman and Defendants themselves agree that the testimony should be
  9 non-confidential. This is precisely the kind of “clearly unjustified” designations
 10 that are prohibited and sanctionable under the Protective Order.
 11         Second, when deciding whether to award expenses, Courts “properly
 12 consider all of a party’s discovery misconduct …, including conduct which has
 13 been the subject of earlier sanctions.” In Heritage Bond Liti., 223 F.R.D. 527, 530
 14 (C.D. Cal. 2004) (citing Payne v. Exxon Corp., 121 F.3d 503, 508 (9th Cir. 1997).
 15 On January 8, 2023, this Court admonished Yuga for repeatedly ignoring
 16 Defendants requests to confer regarding deposition scheduling. Dkt. 77 at 1. The
 17 Court noted that Yuga’s “failure to confer was a violation of Local Rule 37-1, itself
 18 sufficient to deny the Motion.” Id. at 1-2. In that same order, the Court also order
 19 Yuga’s employee Wylie Aronow to appear for deposition on January 9, 2023, and
 20 that “Yuga will be responsible for payment of any expenses associated with the
 21 failed deposition.” Id. at 2. (Notably, Mr. Aronow did not appear, and Defendants
 22 are planning to seek payment of those expenses.)
 23         Defendants accordingly request that the Court award expenses Defendants
 24 have incurred in having to file this motion, as this dispute could have been entirely
 25 avoided had Yuga taken a reasonable position consistent with the wishes of all
 26 relevant parties and the strong public policy in favor of public disclosure.
 27               2.     Yuga Labs’ Position
 28         The Protective Order provides that “[f]rivolous challenges, and those made

      STIPULATION REGARDING MOTION TO
      DE-DESIGNATE                              11               CASE NO. 2:22-CV-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 98-1 Filed 02/14/23 Page 15 of 18 Page ID
                                 #:3537


  1 for an improper purpose (e.g., to harass or impose unnecessary expenses and
  2 burdens on other parties) may expose the Challenging Party to sanctions.” Gosma
  3 Decl. Ex. 2 § 7.3. Defendants base their confidentiality challenge on assertions that
  4 “Mr. Lehman and the Defendants have not, at any point, asserted confidentiality
  5 over any portion of Mr. Hickman’s deposition testimony.” Supra at 5. Yet this is
  6 demonstrably false, as both Mr. Lehman and Defendants have designated many of
  7 the documents used and quoted in Mr. Hickman’s deposition as “confidential” or
  8 HC-AEO. Fares Decl. ¶ 5. Yuga Labs has explained this to Defendants at length,
  9 yet they still refused to de-designate these materials and insisted on bringing this
 10 motion. Gosma Decl. Ex. 3 at 3, 5, 10; Fares Decl. ¶ 3. Yuga Labs also informed
 11 Defendants that they failed to provide a Rule 37-1 Letter, yet they nonetheless filed
 12 this motion without one. Gosma Decl. Ex. 3 at 5. And they rushed to serve this
 13 motion, without meeting and conferring in good faith or including third parties like
 14 Mr. Lehman who have a demonstrated interest in the confidentiality of these
 15 documents. Fares Decl. ¶ 3. The only explanation for this behavior is harassment,
 16 and Defendants should be sanctioned for their frivolous conduct, and Yuga Labs
 17 should receive Attorneys’ Fees for being forced to respond.
 18         Defendants seek sanctions against Yuga Labs for designating Mr. Hickman’s
 19 transcript HC-AEO, yet it is Defendants, not Yuga Labs, who have failed to
 20 “designate for protection only those parts of material, documents, items, or oral or
 21 written communications that qualify.” Gosma Decl. Ex. 2 § 6.1. Defendants have
 22 admitted that they have over-designated documents by offering to de-designate
 23 portions of them. Gosma Decl. Ex. 3 at 4; Fares Decl. ¶ 3. The evidence shows
 24 that their indiscriminate HC-AEO designation is “clearly unjustified” and deserving
 25 of sanctions and an award of attorneys’ fees. Gosma Decl. Ex. 2 § 6.1.
 26         Given Defendants’ mass-designation of discovery material as confidential,
 27 Yuga Labs should not be forced to divine what they would or would not consider
 28 HC-AEO in Mr. Hickman’s deposition testimony. Likewise, Yuga Labs should not

      STIPULATION REGARDING MOTION TO
      DE-DESIGNATE                              12               CASE NO. 2:22-CV-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 98-1 Filed 02/14/23 Page 16 of 18 Page ID
                                 #:3538


  1 be sanctioned for Defendants’ own failure to properly designate documents in
  2 compliance with the Protective Order. Gosma Decl. Ex. 2 § 6.3. Indeed, Yuga
  3 Labs even proposed that Defendants remove their blanket designations, or portions
  4 thereof, so it could designate Mr. Hickman’s deposition in accordance with these
  5 confidentiality designations, yet Defendants refused. Gosma Decl. Ex. 3 at 3; Fares
  6 Decl. ¶ 3. 3
  7           Yuga Labs asks that the Court deny Defendants’ motion, which seeks to
  8 impose shifting and inconsistent confidentiality obligations on Yuga Labs. If the
  9 Court grants the motion, it should also order Defendants to re-produce the
 10 documents used in Mr. Hickman’s Deposition to clearly identify the protected
 11 portions in compliance with Section 6.3 of the Protective Order.
 12
 13 Respectfully submitted,
 14 Dated: February 14, 2023
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 26       Telephone: (213) 443-5300              mlawton@fenwick.com
                                                 FENWICK & WEST LLP
 27
      Defendants’ citation to a prior discovery order is unrelated to this motion, and
      3
 28 Yuga Labs has diligently complied with its discovery obligations, including by
    properly designating documents under the Protective Order.
      STIPULATION REGARDING MOTION TO
      DE-DESIGNATE                              13              CASE NO. 2:22-CV-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 98-1 Filed 02/14/23 Page 17 of 18 Page ID
                                 #:3539

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      STIPULATION REGARDING MOTION TO
      DE-DESIGNATE                          14              CASE NO. 2:22-CV-04355-JFW-JEM
Case 2:22-cv-04355-JFW-JEM Document 98-1 Filed 02/14/23 Page 18 of 18 Page ID
                                 #:3540


  1                 ATTESTATION OF CONCURRENCE IN FILING
  2         Pursuant to the United States District Court for the Central District of
  3 California’s Civil L.R. 5-4.3.4(a)(2)(i), Derek Gosma attests that concurrence in the
  4 filing of this document has been obtained from Anthony Fares.
  5
  6 Dated: February 14, 2023                          /s/ Derek Gosma
  7                                                   Derek Gosma
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      STIPULATION REGARDING MOTION TO
      DE-DESIGNATE                               15               CASE NO. 2:22-CV-04355-JFW-JEM
